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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

         IN RE:                                    §      CHAPTER 11
                                                   §
         KRISJENN RANCH, LLC, et al                §      CASE NO. 20-50805-rbk
                                                   §
                                                   §
                DEBTOR                             §      (Jointly Administered)

                                   NOTICE OF HEARING

         PLEASE TAKE NOTICE that an expedited hearing has been set on August 17, 2020, at

  10:30 a.m. in Judge King’s Courtroom, 3rd Floor, Room 383, U.S. Bankruptcy Court, 615 E.

  Houston, San Antonio, Texas, on the following motion:


  [DOC. NO. 67] JOINT EXPEDITED MOTION TO EXTEND EXCLUSIVITY PERIOD BY
  90 DAYS

  PLEASE TAKE FURTHER NOTICE THAT THIS EXPEDITED HEARING WILL BE
  HEARD VIA TELEPHONE – NO “IN PERSON” APPEARANCE IS REQUIRED UNTIL
  AN EVIDENTIARY HEARING IS REQUESTED. Parties do not need to email for
  authority to appear by telephone for this matter. The conference call in number is 888-278-
  0296, ACCESS CODE: 9198559.

         Dated: August 6, 2020

                                            Respectfully submitted,

                                            MULLER SMEBERG, PLLC
                                            By:    /s/ Ronald J. Smeberg             .
                                                   RONALD J. SMEBERG
                                                   State Bar No. 24033967
                                                   MULLER SMEBERG, PLLC
                                                   111 W. Sunset
                                                   San Antonio, Texas 78209
                                                   210-664-5000 (Tel)
                                                   210-598-7357 (Fax)
                                                   ron@smeberg.com
                                                   ATTORNEY FOR DEBTOR


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                                  CERTIFICATE OF SERVICE

           I hereby certify that on August 6, 2020, true and correct copies of the foregoing will be
  forwarded electronically via the Court’s ECF System, or by U.S. first class mail, postage prepaid,
  on, all parties listed on the attached Service List.

                                                      /s/ Ronald J. Smeberg
                                                      RONALD J. SMEBERG


                                          SERVICE LIST
  DEBTOR                             Angelina County Tax
                                     Assessor                           Albert, Neely & Kuhlmann
  KrissJenn Ranch, LLC               606 E Lufkin Ave,                  1600 Oil & Gas Building
  410 Spyglass Rd                    Lufkin, Texas 75901                309 W 7th St
  Mc Queeney, TX 78123-                                                 Fort Worth, TX 76102-
  3418                               Nacogdoches County Tax             6900
                                     Assessor Collector
  GOVERNMENT                         101 West Main Street               Laura L. Worsham
  ENTITIES                           Nacogdoches, Texas                 JONES, ALLEN &
                                     75961                              FUQUAY, LLP
  Office of the UST                                                     8828 Greenville Ave.
  615 E Houston, Room 533            Rusk County                        Dallas, Texas 75243
  PO Box 1539                        202 N Main St,
  San Antonio, TX 78295-             Henderson, Texas 75652             Craig Crockett
  1539                                                                  CRAIG M. CROCKETT, PC
                                     Shelby County, Tax                 5201 Camp Bowie Blvd.
  U.S. Attorney                      Collector                          #200
  Attn: Bkcy Division                200 St. Augustine St.              Fort Worth, Texas 76107
  601 NW Loop 410, Suite             Center, Texas 75935
  600                                                                   Christopher S. Johns
  San Antonio, Texas 78216           Tenaha ISD Tax Assessor-           JOHNS &COUNSEL
                                     Collector                          PLLC
  Internal Revenue Services          138 College St                     14101 Highway 290 West,
  Special Procedures Branch          Tenaha, TX 75974-5612              ste 400A
  300 E. 8th St. STOP 5026                                              Austin, Texas 78737
  AUS                                Uvalde Tax Assessor
  Austin, TX 78701                   Courthouse Plaza, Box 8            Timothy Cleveland
                                     Uvalde, Texas 78801                CLEVELAND|TERRAZA
  Texas Comptroller of                                                  S PLLC
  Public Account                     NOTICE PARTIES                     4611 Bee Cave Road, ste
  Attn: Bankruptcy                                                      306B
  P.O. Box 149359                    METTAUER LAW FIRM                  Austin, Texas 78746
  Austin, TX 78714-9359              c/o April Prince
                                     403 Nacogdoches St Ste 1           DMA Properties, Inc. and
                                     Center, TX 75935-3810              Frank Daniel Moore


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  c/o NATALIE F. WILSON         410 Spyglass Rd
  LANGLEY & BANACK              Mc Queeney, TX 78123-
  INC.                          3418
  Trinity Plaza II, Suite 700
  745 East Mulberry             Medina Electric
  San Antonio, Texas 78212-     2308 18th St.
  3166                          Po Box 370
                                Hondo, TX 78861-0370
  SECURED
  CREIDITORS                    Medina's Pest Control
                                1490 S Homestead Rd
  McLeod Oil, LLC               Uvalde, TX 78801-7625
  c/o John W. McLeod, Jr.
  700 N Wildwood Dr             Texas Farm Store
  Irving, TX 75061-8832         236 E Nopal St
                                Uvalde, TX 78801-5317
  UNSECURED
  CREIDITORS                    Uvalco Supply
                                2521 E Main St
  Bigfoot Energy Services       Uvalde, TX 78801-4940
  312 W Sabine St
  Carthage, TX 75633-2519       Longbranch Energy
                                c/o DUKE BANISTER
  C&W Fuels, Inc.               RICHMOND
  Po Box 40                     Po Box 175
  Hondo, TX 78861-0040          Fulshear, TX 77441-0175

  Davis, Cedillo & Mendoza      DMA Properties, Inc.
  755 E Mulberry Ave Ste        896 Walnut Street at US
  500                           123 BYP
  San Antonio, TX 78212-        Seneca, SC 29678
  3135

  Granstaff Gaedke &
  Edgmon
  5535 Fredericksburg Rd
  Ste 110
  San Antonio, TX 78229-
  3553

  Hopper's Soft Water
  Service
  120 W Frio St
  Uvalde, TX 78801-3602

  Larry Wright
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